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                IN THE UNITED STATES DISTRICT COURT FOR THE
                    SOUTHERN DISTRICT OF WEST VIRGINIA

JAMES NATHANIEL BRASWELL,

                      Plaintiff,

v.
                                                    CIVIL ACTION NO. 2:20-CV-00872

SGT. X MUNCIE, et al.

                      Defendants.

                           DEFENDANTS’ MOTION TO DISMISS

       COMES NOW Defendants Craig Roberts and Betsy Jividen, by counsel, William E. Murray,

Mark J. McGhee, and the law firm of Anspach Meeks Ellenberger LLP, and move that Plaintiff’s

Complaint be dismissed with prejudice because it fails to state a claim upon which relief can be

granted. The basis for Defendants’ Motion is set forth more fully in the Memorandum of Law in

Support filed contemporaneously with this Motion.

                                            CRAIG ROBERTS AND BETSY JIVIDEN,

                                            By Counsel



                                            / s/ William E. Murray
                                            William E. Murray, Esquire (WVSB #2693)
                                            Mark J. McGhee, Esquire (WVSB #9016)
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                     Plaintiff,

v.
                                                    CIVIL ACTION NO. 2:20-CV-00872

SGT. X MUNCIE, et al.

                     Defendants.

                                  CERTIFICATE OF SERVICE

       I, William E. Murray, do hereby certify that on this 19th day of March, 2021, I filed the

foregoing “DEFENDANTS’ MOTION TO DISMISS” with the Clerk of the Court using the

CM/ECF system, and served Plaintiff by mail, to wit:


                                   James Braswell (#3613474)
                                   South Central Regional Jail
                                       1001 Centre Way
                                     Charleston, WV 25309
                                        Pro Se Plaintiff




                                                    /s/ William E. Murray_____________
                                                    William E. Murray (WVSB #2693)
                                                    ANSPACH MEEKS ELLENBERGER LLP
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